      Case 4:19-cv-02885 Document 112 Filed on 07/28/20 in TXSD Page 1 of 11
                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                  July 28, 2020
                     IN THE UNITED STATES DISTRICT COURT
                                                                               David J. Bradley, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 GULF SOUTH PIPELINE COMPANY,                     §
 LLC, f/k/a GULF SOUTH PIPELINE                   §
 COMPANY, LP                                      §
                                                  §
               Plaintiff,                         §
                                                  §
 v.                                               § CIVIL ACTION NO. 4:19-CV-02885
                                                  §
                                                  §
                                                  §
 TX-MQ-0068.00000: 2.702 ACRES, MORE              §
 OR LESS, in the J. S. Edgar Survey, Abstract     §
 Number 200, Montgomery County, Texas;            §
 ABEL MENDOZA and ALEJANDRO                       §
 MENDOZA                                          §
                                                  §
                                                  §
               Defendants.                        §


                   JUDGMENT IN CONDEMNATION
              Regarding TX-MQ-0068.00000: 2.702 ACRES,
      MORE OR LESS, in the J. S. Edgar Survey, Abstract Number 200,
 Montgomery County, Texas; ABEL MENDOZA and ALEJANDRO MENDOZA

        Following the entry of partial summary judgment and trial on the matter of

compensation, the Court enters the following final judgment as to the above-referenced

defendants:

        IT IS ORDERED, ADJUDGED, AND DECREED THAT:

        1.    The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and

Section 7h of the Natural Gas Act, 15 U.S.C. § 717f (h).


                                                                               PAGE 1 OF 8
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      2.     Venue is proper in the Southern District of Texas pursuant to 28 U.S.C.

§ 1391(b) and 15 U.S.C. § 717f (h) as the defendant property, TX-MQ-0068.00000: 2.702

ACRES, MORE OR LESS, in the J. S. Edgar Survey, Abstract Number 200, Montgomery

County, Texas, described by instrument recorded in County Clerk’s File Number

2011093963, of the Official Public Records of Montgomery County, Texas (the

“Property”), is located in Montgomery County, Texas.

      3.     Gulf South Pipeline Company, LLC (“Gulf South” or “Plaintiff”) is entitled

to condemn the Property, which is owned by defendants Abel Mendoza and Alejandro

Mendoza (collectively “Mendoza” or “Landowners”) pursuant to its power of eminent

domain as authorized by Section 7h of the Natural Gas Act, 15 U.S.C. § 717f (h) and

Federal Rule of Civil Procedure 71.1.

      4.     IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Gulf

South has judgment against Mendoza and the Property, as follows:

             There is hereby vested in Gulf South, its successors and assigns, a permanent

      easement and right of way (the “Easement”) and temporary workspace (“Temporary

      Workspace”) along the route and location over, through, upon, under, and across

      the Property named as TX-MQ-0068.00000: 2.702 ACRES, MORE OR LESS, in

      the J. S. Edgar Survey, Abstract Number 200, Montgomery County, Texas, as

      described by instrument recorded in County Clerk’s File Number 2011093963, of

      the Official Public Records of Montgomery County, Texas. The locations of the



                                                                              PAGE 2 OF 8
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  Easement and Temporary Workspace upon the Property are more definitely

  depicted and described on the survey and plat attached hereto as Exhibit A.

         Gulf South hereby takes, acquires and holds said Easement and Temporary

  Workspace for purposes of constructing, reconstructing, renewing, operating,

  maintaining, protecting, inspecting, repairing, changing the size of, abandoning-in-

  place, removing, replacing, and/or relaying one pipeline, not to exceed twenty-four

  inches (24”) nominal diameter (the “Pipeline”), and conduit(s) for the transmission

  of communication signals related to the aforementioned uses, together with such

  pipes, fittings, corrosion control devices, wires, cables and other equipment and

  appurtenances (collectively with the Pipeline, the “Facilities”), as may be necessary

  or convenient for the transportation of natural gas and its associated substances, for

  the protection of said Facilities, and for the maintenance of the Easement and

  Temporary Workspace. The Easement shall be 50-feet in width, located as depicted

  and described in Exhibit A. Gulf South may select the location of its Facilities within

  the Easement. The Temporary Workspace is located and sized as depicted and

  described on Exhibit A.

         Gulf South, its successors and assigns, shall have the right to use the

  Easement for the purposes set forth herein until such time as it releases it rights.

  Gulf South shall have the right to use the Temporary Workspace during construction

  of the Facilities and any periods of restoration work, not to exceed June 18, 2021.

  After Gulf South has completed its construction of the Facilities and any restoration

                                                                             PAGE 3 OF 8
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  work, Gulf South’s interest in the Temporary Workspace will revert to the

  Landowners.

         The Easement includes a permanent right of ingress, egress, entry and access

  in, to, through, on, over, under, and across the Easement, and where the same

  intersect the boundaries of the Property or any public road, public easement, or

  easements held by Gulf South on other property contiguous to the Easement, for any

  and all purposes necessary and/or incident to the rights granted hereunder. During

  construction of the Facilities and any period of restoration, these same rights of

  ingress, egress, entry and access shall also apply to the Temporary Workspace.

         Gulf South shall bury the Pipeline to an initial minimum depth of thirty-six

  inches (36”) from the top of the Pipeline to the surface of the ground and any then

  existing drainage ditches, creeks and roads, except at those locations where rock is

  encountered the Pipeline may be buried to a lesser depth.

         The surface of the Easement and Temporary Workspace will be filled,

  leveled and graded after the original construction of the Pipeline on the Easement is

  completed, so as to restore the surface, as nearly as practicable to its original level,

  grade, drainage and condition.

         It is further hereby vested in Gulf South the right to cathodically protect its

  Facilities within the boundaries of the Easement, and to place pipeline markers,

  vents, and cathodic protection test leads and other corrosion control devices above

  the ground within the Easement. Gulf South shall have no other aboveground

                                                                              PAGE 4 OF 8
Case 4:19-cv-02885 Document 112 Filed on 07/28/20 in TXSD Page 5 of 11




  Facilities within the Easement. Gulf South shall have no right to fence off or enclose

  the Easement.

         Landowners shall retain the right to fully use and enjoy the Easement

  (including, but not limited to, the cultivation of crops [other than trees] within the

  area of the Easement) except to the extent such uses interfere with the rights of Gulf

  South. Provided such uses do not endanger the Facilities or interfere with Gulf

  South’s rights, Landowners’ uses may include using the Easement for open space,

  set back, utility, street and roadway purposes.

         Any and all utility, street and roadway crossings shall cross the Easement at

  an angle of not less than forty-five (45) degrees to the Pipeline. Any and all paving

  and use for parking or driveways or utility, street and roadway crossings, must

  comply with all of Gulf South’s required and applicable weight restrictions,

  spacings, depth separation limits and other protective requirements. Landowners

  must notify Gulf South in writing (and provide plans for such proposed

  construction) at least ninety (90) days prior to commencement of such activities.

  Gulf South shall not unreasonably withhold, condition, or delay approval of plans.

  Landowners shall not build, create or construct, nor allow to be built, created or

  constructed, any obstruction (including, but not limited to, impounded water),

  building, improvement or other structure within the Easement, nor shall the

  Landowners place, nor allow to be placed, any trees or debris on the Easement, nor

  reduce the depth of the cover of the ground over the Facilities. Gulf South shall have

                                                                            PAGE 5 OF 8
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  the right to mow, clear and keep the Easement cleared of trees, shrubs, brush, or

  other debris during its term.

         Landowners shall have the right to install and maintain cross-fences across,

  but not along and within, the Easement at angles greater than forty-five (45) degrees

  to the Pipeline, provided that such fences do not interfere with or threaten the

  Facilities, and provided further that Gulf South reserves the right to install gates

  within fences located within the boundaries of the Easement. Landowners shall not

  install fence posts within five-feet (5’) of the Pipeline. In the event it becomes

  necessary for Gulf South to cut any fences within the boundaries of the Easement,

  before cutting such fences Gulf South shall first set brace posts and attach the

  existing fencing to such brace posts. In that event, Gulf South shall use wire gaps or

  temporary gates to prevent cattle or livestock from entering or leaving the Property.

  After completion of construction activities, Gulf South will remove the wire gaps

  or temporary gates and restore the fencing to at least as good condition as the same

  were in, as near as practicable.

         Gulf South does not acquire by this judgment, and it is reserved to

  Landowners, all oil, gas, and other minerals in, on and under the Easement; provided

  that Landowners shall not be entitled to drill, explore, or excavate for minerals on

  the surface of the Easement during its term, but will be permitted to extract oil, gas

  and other minerals from under the Easement by directional drilling or other means



                                                                            PAGE 6 OF 8
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  so long as such activities do not damage, endanger, disturb, injure and/or interfere

  with Gulf South’s Facilities or its use of the Easement.

         Gulf South has the right to assign the Easement and Temporary Workspace,

  in whole or in part, subject to any applicable regulatory approval.

         As necessary for the performance of these acts, Gulf South has the right to

  enter upon, appropriate, acquire, take, hold and enjoy the above-described interests

  in the Property for the purposes set forth herein.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that with

  respect to the funds that Gulf South has deposited in the registry of this Court with

  regard to the Property, i.e. the sum of $7,323, the clerk is hereby ordered and

  directed to return $2,441, with any interest, to Gulf South. The clerk is hereby

  ordered and directed to retain the remaining $4,882 in the registry of this Court,

  available for distribution to Mendoza upon application.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that costs of

  Court, expenses, and attorneys’ fees shall be borne by the party incurring them.

         This is a final judgment with respect to Mendoza and the Property but does

  not dismiss claims related to any other properties or parties made the subject of Gulf

  South’s Complaint.




                                                                            PAGE 7 OF 8
   Case 4:19-cv-02885 Document 112 Filed on 07/28/20 in TXSD Page 8 of 11



        July 28, 2020
Date: _____________________________________



     ___________________________________

     UNITED STATES DISTRICT JUDGE



                                   Respectfully Submitted,

                                   GULF SOUTH PIPELINE COMPANY, LLC
                                   By Counsel

                                    /s/ J. Robin Lindley
                                   J. Robin Lindley
                                   State Bar No. 12366100
                                   SDTX Bar No. 9693

                                   BUCK KEENAN LLP
                                   2229 San Felipe, Suite 1000
                                   Houston, Texas 77019
                                   (713) 225-4500
                                   (713) 225-3719 (fax)
                                   lindley@buckkeenan.com

                                   Attorney-in-Charge for
                                   Gulf South Pipeline Company, LLC




                                                                   PAGE 8 OF 8
                         Case 4:19-cv-02885 DocumentEXHIBIT
                                                    112 Filed"A"
                                                             on 07/28/20 in TXSD Page 9 of 11
  waw.                                      PERMANENT EASEMENT AND TEMPORARY WORKSPACE
  ~             BASELINE
  ~             CENTERLINE                              LYING WITHIN AND BEING A PART OF
  ft            PROPERTY LINE
  P             EXISTING OVERHEAD POWERLINES                             MONTGOMERY COUNTY, TEXAS
  FND.          FOUND                                     J.S. EDGAR SURVEY, ABSTRACT-200
  PROP.         PROPOSED
  CALC.         CALCULATED                                                                                           o·         50'     100'
  P.O.S.        POINT OF SUSPENSION
  P.O.R.        POINT OF RESUMPTION                                                                                     SCALE: 1"=100'
  P.O.B.        POINT OF BEGINNING
  P.O.T.        POINT OF TERMINATION
  ROW
  HWY.
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                RIGHT OF WAY
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  TWS           TEMPORARY WORKSPACE
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  N.T.S.        NOT TO SCALE



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  O.P.R.M.C.T.  OFFICIAL PUBLIC RECORDS, MONTGOMERY COUNTY, TEXAS
  C.C.F.N.      COUNTY CLERK'S FILE NUMBER
  M.R.M.C.T.    MAP RECORDS OF MONTGOMERY COUNTY, TEXAS               ANDREW SCOTT MUNSON
  DISTANCE ACROSS PROPERTY: 169.02'                                     TX-MQ-0073.00000



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  RODS: 10.24                                                        A CALLED 114.53 ACRES
  PERM. EASEMENT: 0. 19 ACRES                                                               FND. 5/8" IRON ROD
                                                                       C.C.F.N. 2003-039789
  TEMP. WORKSPACE: 0.60 ACRES    FND. 5/8" IRON ROD                                         N=10, 154,512.35'
                                                                            (O.P.R.M.C. T.)
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                                                            N=10, 153,788.28'
                                                              E=3,838, 186.84'
                                                                                          ABEL MENDOZA &                                                N= 10,153,837.87'
                                                                                        ALEJANDRO MENDOZA                                               E=3,838,354. 1o'
                                                                                                  TX-MQ-0068.00000
                                                                                                A CALLED 2. 702 ACRES
                                                                                                 C.C.F.N. 2011093963
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  10 FACTOR OF 0.99993159 FOR lHIS PRO.ECT, BY MEANS Of A
  OBAL POSITIONING SYSTEM (GPS) SURVEY PERFORMED BY MOTT
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OR lHE PURPOSE OF ESTABUSHING A BASELINE FOR MAPPING
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  BOUNDARY SURVEY.                                                                 RPLS NO. 6722
• TITLE RESEARCH PERFORMED BY ABL LAND SERVICES INC.                               PHONE: (601)228-8466
. PLATS WERE PRODUCED FROM VESTING DEED INFORMATION, NOT FROM                      FAX: (601)402-0150
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 GULF SOUTH®                          PIPELINE
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                                                               APPROVAL
                                                                                       ESH           10/17/18
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                                                               PROJECT
                                                               APPROVAL                KOM           10/17/18     CROSSING THE PROPERTY OF
 M                 10333 Richmond Avenue, Suite 325                    - - - 1 - - -- - - - ' - - - ------1
                                                               SURVEY DATE:                                                                             ABEL MENDOZA &
  MOTT    M       Houston, Texas. 77042
                  TX Regi stered Engineering Firm F-7429
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  MACDONALD
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                                                  EXHIBIT   "A"07/28/20 in TXSD Page 10 of 11
 .w.wo.                                        PERMANENT EASEMENT AND TEMPORARY WORKSPACE
  ~                 BASELINE
  (f_               CENTERLINE                         LYING WITHIN AND BEING A PART OF
 It                 PROPERTY LINE
                                                                  MONTGOMERY COUNTY, TEXAS
 p                  EXISTING OVERHEAD POWERLINES
 FND.               FOUND                                J.S. EDGAR SURVEY, ABSTRACT -200
 PROP.              PROPOSED
 CALC.              CALCULATED
 P.O.S.             POINT OF SUSPENSION
 P.O.R.             POINT OF RESUMPTION
 P.O.B.             POINT OF BEGINNING
 P.O.T.             POINT OF TERMINATION
 ROW                RIGHT OF WAY
 HWY.               HIGHWAY
 PERM.              PERMANENT
 TWS                TEMPORARY WORKSPACE
 CONC.              CONCRETE
 MON.               MONUMENT
 N.T.S.             NOT TO SCALE
 O.P.R.M.C.T.       OFFICIAL PUBLIC RECORDS, MONTGOMERY COUNTY, TEXAS
 C.C.F.N.           COUNTY CLERK'S FILE NUMBER
 M.R.M.C.T.         MAP RECORDS OF MONTGOMERY COUNTY, TEXAS



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 3 (ZONE 5376, FIPS 4203) TEXAS STATE PLANE COORDINATE SYSTEM
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  OB~ POSITIONING SYSTEM {GPS) SURVEY PERFORMED BY MOTT
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    CTED TOPOGRAPHIC FEATURES AND LOCATING NECESSARY LINE FOR
  GINEERING DESIGN AND ACQUISITION ON VESTING DEEDS SUPPLIED BY
  E CLIENT•
. lHIS IS AN EASEMENT DRAWING AND IS NOT INTENDED TO REPRESENT
  BOUNDARY SURVEY.
. TITLE RESEARCH PERFORMED BY ABL LAND SERVICES INC.
, PLATS \\£RE PRODUCED FROM VESTING DEED INFORMATION, NOT FROM
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• TEMPORARY WORKSPACE LIES ADJACENT AND CONTIGUOUS TO
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                                                                                  MOM          10/17/18
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 GULF SOUTH®                                             DRAWING                  ESH          10/17/18
                                                                                                                    PERMANENT EASEMENT & TWS
                                                         -----~---1
                                                         APPROVAL
                                   PIPELINE
                                                         PROJECT
                                                         APPROVAL                 KDM          10/17/18           CROSSING THE PROPERTY OF
 M               10333 Richmond Avenue, Suite 325        SURVEY DATE•                                                             ABEL MENDOZA &
  MOTT    M      Houston, Texas, 77042
                 TX Registered Engineering Firm F-7429
                                                         SCALE:               N.T.S.
                                                                              10018
  MACDONALD                                              PROJECT ID:
                                                                                                                  DWG.
                                                                                                                  NO.     10018-129-P-103-161-TX-MQ-0068.00000
                                                         SHEET:             2       OF"   2
                                                                                                                                      GS/OSTRO 001749
    Case 4:19-cv-02885 Document 112 Filed on 07/28/20 in TXSD Page 11 of 11
                                                           EXHIBIT "B"

                                                    Written: July 03, 2018
                                                      TX-MQ-0068.00000
                                                 Field Notes for Gulf South
                                                Willis Lateral Pipeline Project
                                           Abel Mendoza and Alejandro Mendoza
                                                Montgomery County, Texas
                                              0.19 Acre Permanent Easement


                                                     GENERAL DESCRIPTION

Centerline description for a Fifty foot (SO') Wide Permanent Easement, lying Twenty-five feet (25') each side of the following
described centerline, containing a calculated total of 0.19 acres (8,451 sq. ft.), and being out of the J. S. EDGAR SURVEY,
ABSTRACT NO. 200, MONTGOMERY COUNTY, TEXAS, herein subject tract being that certain called 2.702 acre tract of land,
described and referenced as, being conveyed to Abel Mendoza and Alejandro Mendoza in an instrument filed for record in
County Clerk's File Number 2011093963 of the Official Public Records, Montgomery County, Texas (O.P.R.M.C.T.), said fifty foot
(SO') Wide Permanent Easement being twenty-five feet (25') each side of the following described centerline:

                                       PERMANENT EASEMENT CENTERLINE DESCRIPTION

Centerline for a proposed 0.19 Acres (8,451 sq. ft.). fifty foot (SO') Wide Permanent Easement lying Twenty-five feet (25') each
side of the following described Centerline:

BEGINNING at a point on the east line of said 2.702 acre tract of land, and the west line of that certain called 2.539 acre tract of
land, described and referenced as, being conveyed to Simon Hernandez Santana and Maria Del Rocio Juarez Cardenas in an
instrument filed for record in County Clerk's File Number 2011045846 of the Official Public Records, Montgomery County, Texas
(O.P.R.M.C.T.), for the POINT OF BEGINNING (P.O.B.), of the herein described centerline of a fifty foot (SO') Wide Permanent
                                         =                    =
Easement, having a grid coordinate of N 10,154,394.32', E 3,838,330.00', from which an 5/8-inch iron rod found having a
                     =                   =
grid coordinate of N 10,154,512.35', E 3,838,324.89', being the northwest corner of said 2.539 acre tract of land, and the
northeast corner of said 2.702 acre tract of land and the southerly line of certain called 114.53 acre tract of land, described and
referenced as, being conveyed to Andrew Scott Munson in an instrument filed for record County Clerk's File No. 2003-039789,
of the Official Public Records Montgomery County, Texas (O.P.R.M.C.T.), bears North 02 degrees 28 minutes 46 seconds West, a
                                                                                     =                    =
distance of 118.14 feet and a 5/8-inch iron rod found having a grid coordinate of N 10,153,837.87', E 3,838,354.10', for the
southeast corner of said 2. 702 acre tract of land, and the southwest corner of said 2.539 acre tract of land, bears South 02
degrees 28 minutes 46 seconds East a distance of 556.97 feet;

THENCE, South 86 degrees 45 minutes 51 seconds West, a distance of 169.02 feet, to the POINT OF TERMINATION (P.O.T.), of
the herein described centerline of a fifty foot (SO') Wide Permanent Easement, having a grid coordinate of N = 10,154,384.78', E
= 3,838,161.25', said P.O.T. being on the common west line of said 2.702 acre tract of land, and the east line of that certain
called 2.865 acre tract of land, described and referenced as, being conveyed to Jesus Catala and Lydia E. Galindez in an
instrument filed for record in County Clerk's File Number 2016019703 of the Official Public Records Montgomery County, Texas
                                                                                         =                    =
(O.P.R.M.C.T.), from which an 5/8-inch iron rod found having a grid coordinate of N 10,154,504.92', E 3,838,156.10', being
the northwest corner of said 2.702 acre tract of land, and the northeast corner of said 2.865 acre tract of land and the southerly
line of said 114.53 acre tract of land, bears North 02 degrees 27 minutes 23 seconds West, a distance of 120.25 feet and a 3/8-
                                                    =                    =
inch iron rod found having a grid coordinate of N 10,153,788.28', E 3,838,186.84', for the southwest corner of said 2.702
acre tract of land, and the southeast corner of said 2.865 acre tract of land, bears South 02 degrees 27 minutes 23 seconds East
a distance of 597.05 feet.



Whereas the above described Permanent Easement contains a calculated total of 0.19 Acres (8,451 sq. ft.) of land, having a
centerline distance of 169.02 linear feet, or 10.24.

These easement descriptions are not meant to depict a boundary survey.



Bearing Source: NORTH, BEARINGS, DISTANCES AND COORDINATES ARE DERIVED FROM STATIC TIES TO EXISTING NGS
MONUMENTS AND TRANSFORMED INTO NAO 83 (ZONE 5376, FIPS 4203) TEXAS STATE PLANE COORDINATE SYSTEM CENTRAL
ZONE DATUM, U.S. SURVEY FOOT, WITH AN AVERAGE COMBINED GRID FACTOR OF 0.99993159, FOR THIS PROJECT, BY MEANS
OF A GLOBAL POSITIONING SYSTEM (GPS) SURVEY PERFORMED BY MOTI MACDONALD.



                           Registered Professional Land Surveyor, No. 6722, do hereby certify that this easement survey
                            an on the ground field survey, in April and May 2018, and that this description and included Exhibit
                              d at the date of the field survey, to the best of my knowledge and belief.




32 Millbranch Road, Suite 40
Hattiesburg, MS 39402
601-228-8466 - Office
601-402-0150- Cell
TBPLS Firm No. 10193989




                                                          Sheet 1 of 1
                                                                                                       GS/OSTRO 001750
